
Daniel, Judge,
after stating the case as above, proceeded : It is not necessary for us to decide the question who in law was entitled to the slain deer, if no agreement had been made between the parties concerning it. The parties having first disputed the title, are now bound by the compromise and agreement. The carcass was by the agreement the property of the defendants ; the skin when severed from the body of the deer, was the property and in the possession of the prosecutor. We do not agree with the Judge, that the evidence of a forcible trespass in taking a deer skin severed from the body, will support an indictment charging the defendants with forcibly taking a slain deer. These articles of property are very different and distinct. If a man indicted for forcibly taking one species of personal property, could be convicted by proof that he took another species of personal property, no man would know how to defend himself: —he would be constantly liable to be entrapped. We are of opinion that there must be a new trial.
Per Curiam. Judgment reversed.
